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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI



United States of America                      |
                                              |
             Plaintiff,                       |
                                              |
        v.                                    | No. EDMO 4:05-CR-0606-JCH
                                              |
                                              |
Edgar Coronado,                               |
                                                    |
             Defendant.                             |


                                              ORDER


                 Cash Bail in the amount of $10,000.00 was posted in the above-styled matter in

the United States District Court-Eastern District of Missouri. These funds were received on

behalf of the United States District Court-Western District of Texas, and therefore, the Clerk of

the United States District Court-Eastern District of Missouri is hereby ORDERED to forward the

funds collected to: Clerk, U.S. District Court-Western District of Texas, San Antonio Division,

United States Courthouse, John H. Wood, Jr., 655 E. Durango Blvd., San Antonio, TX 78206.



                 Dated this 8th day of March, 2006.



                      /s/ Jean C. Hamilton
                      UNITED STATES DISTRICT JUDGE
